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as Va 05/20/03: ‘Animal Rebuttal...Morals and Professional Wrestling’

ULTIMATE IGNORANCE !!!

The commentary that the Ultimate Warrior wrote the other day on his website deserves no response, as
he cannot help his ignorance, it speaks for itself and has no merit whatsoever.

But I will say this:

First we look forward to a long and successful business relationship with the WWE. It is a great
company, with great people running it, We have a new found appreciation and respect for our business.

Hawk and I just came back from a two week Mission trip to South Korea and supported our military
troops and went to several Christian schools, which was truly rewarding.

We are proud of our lifestyle changes, and we have grown and matured as individuals who appreciate
things like never before, like the Wrestling Profession.

On the other hand you are just another person writing about something you know nothing about. You
have just joined an elite group. Congratulations!
Best of luck to you, Jim!

Ignorance meaning “not having the knowledge,” there are many things I am ignorant about.
Nowhere do I claim to hold the knowledge about everything. However, | am not ignorant in
the naive, demeaning sense Joe intends the term, nor am | ignorant in the correct use of the
term, ive., unknowledgeable, as it is related to the subject causing the exchange of our
comments with one another.

What | wrote about Animal, the Road Warriors on 5/14.

The best worm-eaten line I read was something Road Warrior Animal said. Looking forward to his 4th
or 5th serving of McMahon poop-pie after toughly swearing each successive time Hawk and he would
never be back, Animal said he was “glad morals are coming back into the business,” Earth to Ani...ah,
forget it. Whoever is looking for a serious, Starship Enterprise hook-up needs to get with Animal because
he's got to be smoking or injecting the best stuff there is — that line ts simply from another friggin’
planet.

Morals are coming back? He must be confusing PAX with WWE to ease his shame about bowing and
bending over at the altar of McMahon...again...again...and again. Hey Joe, don't feel too bad, it's only

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begging. Since when were morals synonymous with born-agains (Hawk! and him? born-again)
behaving like hypocrites? Here we go one more time — a born-again's piety being used as an excuse
instead of an entpotwerment.

There is no ignorance. My readers know begging and your return to WWE is begging. Begging
for a hand out. It’s not called swallowing your pride, its called swallowing your own s#%$
and eating some extra thrown on top, You are not in a position of industry power to call your
own shots, Those days are behind you and you never held the kind of power like marks will
forever fallaciously believe. And when you held the little that you did, you apparently
squandered it with personal imprudence.

You can look forward all you want, but your business relationship will be anything but long or
successful, WWE is a great company to those who have no principles and the people who run
it are great only to those who enjoy working for people who are just as unprincipled.
Marriages made in hell. They also have no problem making those who come back on their
hands and knees suffer. You may be convincing yourself through some deep rationalization
therapy that you have found a new appreciation and respect for the business, but trust your
first gut instinct, Joe — you've only just struck a new low,

You may have changed, and being born-again is admirable (the hypocrisy isn’t which we'll get
to in a minute) but that doesn’t mean WWE or its owners have. Or that they give a rat's ass
what you belief. They have an excellent history anyone can look to to know that. In your own
case alone, it has been but only a few months since last seeing excerpts of what Hawk and you
creatively expressed about WWE and Vince re your own repulsive memories. Vince must be
having nightmarish fits between laughing and anxiety — laughing at your belief in your faith
and worried that all his talent is going to go born-again. You do what they tell you to do, quit
fooling yourselves and others.

Now, let's get serious...

You say, morals are coming back? Bravol, “morals” actually means something, here; your
statement makes it so. Hurray! — In a world filled with moral relativity, we're making
headway. Your statement also means that if morals are coming back then they were missing. If
they were absent we can look to those times when they were, and say that those times were
not moral, From there we make a comparison between those times and today’s times (times
when you claim morals are coming back) — and see for ourselves, then ask the audience, ” Are
morals truly coming back?”

Ah, too bad, you lose this round, Simple common sense tells anybody with even half-a-mind
working that what programming is today is what it was then, and vice-versa. Is Shawn
Michaels the return of morals you're referring to? If it is, then I, and many, many others in our
audience can’t find what it will take to think so low.

The most substantive illustration of your, and other hypocritical born-agains, own ignorance
here seems to be what you do not truly know about what you assertively profess you know

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most about. I'd like to invite you to enlighten us -- cure our ignorance -- but I’m not so sure
you are qualified.

Because, you see, I've read The Book -- many times. In case, you didn’t know, I’m a curious
guy who likes to read, Many are the dog-eared pages and the annotations in the margins in
The Book of mine. Yet for the life of me, I can’t find anywhere how your choice -- made by
your own Creator-endowed free will — to participate in the industry during these especially
morally deteriorated times finds a “fit” with the lessons of the beliefs you practice.

Now I can find, then come to know, as I have through my readings of other brilliant, original
thinkers and theologians like Augustine, Aquinas, Martin Luther (not King!), John Locke and
more, that morality is simply choosing what is right, true and good over what is wrong, false
and evil to guide the course of the actions I take in my life. Moreover, I can know that I don’t
need a middle person (or need to pay a fee) to have contact with the Creator. And, I can know
that He expects, similarly, that 1 won't run to throw the responsibility of using my sui-generis
human creation off on any other middle person, group or identity.

Yet, the beliefs you profess to practice don’t allow any “moral” wiggle room, so to speak. In
The Book there is not any discrepancy whatsoever when it comes to what morality is, ergo,
what immorality is. What is immoral is what is sexually profligate, gratuitous ~ anything
sexually overdone, overemphasizing the prurient nature of bodily desires. For those of you
forever to be only wrestling fans, that means — sleazily slinging it around like you're a primate
in heat out in the jungle.

Recognizing the nature of the SE industry, then, would be enough for any genuinely born-
again person to find himself in a dilemma, yes? no?

What, then, are the natural questions to be asked?

If a common sense understanding about the sexually explicit nature of today’s sports
entertainment industry is not enough to answer the question of whether it is immoral or moral
according to the standard set down by the belief system born-agains profess to practice, where
do we go to find an authoritative answer? Do we go outside His word to find the answer?

What about organizations like PTC or Morality in Media? These organizations, run by decent,
upstanding, caring, dedicated born-agains and faith-based people studiously find that WWE
programming is morally degenerative, especially for young minds. One of the top 5 worst
shows. Are these people authority enough? Are they wrong? Nuts? Zealots? What? What
other authority, Joe, would you have people use if other qualified born-agains or the
distinctive description in The Book cannot guide them?

Would you look to your born-again comrade Sting? Ted Dibiase?

Steve Borden's comments:

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